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                           UNITED STATES DISTRICT COURT
                                DISTRICT OF MAINE

IVAN M. SUZMAN,                              )
                                             )
                      Plaintiff,             )
                                             )
v.                                           )       Docket No. 2:05-CV-192-GZS
                                             )
ADOLPH CRISP,                                )
et al.,                                      )
                                             )
                      Defendants.            )

                ORDER ON OBJECTION TO FINAL PRETRIAL ORDER


       Presently before the Court is Defendant Crisp’s Objection to the Final Pretrial Order

(Docket # 93). Via this Objection, Defendant Crisp, previously pro se but now appearing with

counsel, claims that he did not receive notice of the February 8, 2007 Final Pretrial Conference

and, on that basis, asks this Court to amend the Final Pretrial Order so that he may present

witnesses and exhibits, which are disclosed for the first time in his Objection. The Court hereby

DENIES the Objection.

       The primary reason for the Court’s decision to deny Defendant’s Objection is the Court’s

finding that Defendant Crisp did, in fact, receive notice of the Final Pretrial Conference. First,

the Court finds that Defendant Crisp received a copy of the Plaintiff’s Final Pretrial

Memorandum on February 6, 2007 in accordance with the Certificate of Service (Docket # 88-2)

and the UPS Track and Confirm Result submitted by Plaintiff (Docket # 97-2). In addition, the

Court finds that Defendant was mailed notice of the final pretrial conference via U.S. Mail from

the Clerk’s Office on both January 4, 2007 and January 10, 2007. (See the Notice of Electronic

Filing for Docket #s 80, 81 & 82 (all of which indicate that notice was delivered to Adolph Crisp

at 2247 N. Denver Place, Tulsa, OK 74106).) In addition, the Court notes that Defendant Crisp,



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after being served by the U.S. Marshal on April 25, 2006, received a copy of the Court’s June 21,

2006 Scheduling Order (Docket # 44), which indicated that this matter would be ready for trial

on March 5, 2007.

       In light of Defendant’s failure to appear at the Final Pretrial Conference or contact the

Court in advance of the conference, the Court believes the Final Pretrial Order properly found

that Defendant has waived any right to object to the Final Pretrial Order and that Defendant

should be barred from introducing any evidence (in the form of witnesses or exhibits) beyond

that identified in Plaintiff’s Amended Pretrial Memorandum.

       Therefore, if Defendant Crisp appears at trial on March 20, 2007, he will be limited to the

universe of evidence previously identified in Plaintiff’s Amended Pretrial Memorandum.

Defendant Crisp shall also comply with the March 13, 2007 trial brief deadline contained in the

Final Pretrial Order.

       SO ORDERED.

                                             /s/ George Z. Singal
                                            United States Chief District Judge

Dated this 27th day of February 2007.




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